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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

   Case No.       CV 19-10956-DMG (RAOx)                                            Date     February 10, 2020

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   Present: The Honorable          DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                         NOT REPORTED
                  Deputy Clerk                                                       Court Reporter

       Attorneys Present for Plaintiff(s)                                 Attorneys Present for Defendant(s)
                None Present                                                        None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ MOTION FOR
                PRELIMINARY INJUNCTION [14]

          On January 8, 2020, Plaintiffs Lydia Olson, Miguel Perez, Postmates Inc. (“Postmates”),
   and Uber Technologies, Inc. (“Uber”)1 filed a Motion for Preliminary Injunction requesting that
   the Court enjoin the enforcement against Plaintiffs, pending final judgment, of any provision of
   California Assembly Bill 5 2019 (“AB 5”), a recently enacted law pertaining to the classification
   of employees and independent contractors. [Doc. # 14.] The Motion has been fully briefed, and
   the Court held a hearing on February 7, 2020. [Doc. ## 21, 23.]2 For the reasons stated below,
   the Court DENIES Plaintiffs’ Motion.

                                            I.
                           FACTUAL AND PROCEDURAL BACKGROUND3

          California courts have long grappled with the challenges of defining the line between an
   employee and an independent contractor. Two years ago, in its unanimous decision in Dynamex
   Operations W. v. Superior Court, 4 Cal. 5th 903 (2018), the California Supreme Court described


            1
              The Court refers to Olson and Perez collectively as the “Individual Plaintiffs” and Uber and Postmates
   collectively as the “Company Plaintiffs.”
           2
             On February 4, 2019, individuals described as “California On-Demand Contractors” Keisha Broussard,
   Daniel Rutka, Raymond Frazier, and Lamar Wilder filed a brief as amici curiae in support of Plaintiff’s Motion for
   Preliminary Injunction. [Doc. # 27.] The next day, the Chamber of Commerce of the United States of America,
   Engine Advocacy, and TechNet also filed a brief as amici curiae in support of Plaintiff’s Motion. [Doc. # 44.]
            3
              The following facts are based on judicially noticeable documents and the sworn declarations Plaintiffs
   submitted in support of their Motion, not on the unverified allegations in Plaintiffs’ Complaint. See, e.g., K-2 Ski
   Co. v. Head Ski Co., 467 F.2d 1087, 1088 (9th Cir. 1972) (“A verified complaint or supporting affidavits may afford
   the basis for a preliminary injunction[.]”); 11A Charles Alan Wright & Arthur R. Miller, Federal Practice and
   Procedure § 2949 (3d ed. 2019) (“Evidence that goes beyond the unverified allegations of the pleadings and motion
   papers must be presented to support or oppose a motion for a preliminary injunction.”).

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   the distinction between an independent contractor and employee—and the importance of that
   distinction—in this way:

           Under both California and federal law, the question whether an individual worker
           should properly be classified as an employee or, instead, as an independent
           contractor has considerable significance for workers, businesses, and the public
           generally. On the one hand, if a worker should properly be classified as an
           employee, the hiring business bears the responsibility of paying federal Social
           Security and payroll taxes, unemployment insurance taxes and state employment
           taxes, providing worker’s compensation insurance, and, most relevant for the
           present case, complying with numerous state and federal statutes and regulations
           governing the wages, hours, and working conditions of employees. The worker
           then obtains the protection of the applicable labor laws and regulations. On the
           other hand, if a worker should properly be classified as an independent contractor,
           the business does not bear any of those costs or responsibilities, the worker
           obtains none of the numerous labor law benefits, and the public may be required
           under applicable laws to assume additional financial burdens with respect to such
           workers and their families.

   Id. at 912–13 (footnote omitted). The California Supreme Court noted that “[t]he basic objective
   of wage and hour legislation and wage orders is to ensure that such workers are provided at least
   the minimal wages and working conditions that are necessary to enable them to obtain a
   subsistence standard of living and to protect the workers’ health and welfare.” Id. at 952. It
   therefore adopted a “very broad definition of the workers who fall within the reach of the wage
   orders.”4 Id.

            That broad definition is known as the “ABC” test, a standard used in numerous
   jurisdictions in different contexts to determine a worker’s classification. Id. at 916. Under the
   ABC test, a worker is considered an employee unless the hiring entity establishes that the worker
   (a) is “free from the control and direction of the hirer in connection with the performance of the
   work, both under the contract for the performance of such work and in fact”; (b) “performs work
   that is outside the usual course of the hiring entity’s business”; and (c) is “customarily engaged
   in an independently established trade, occupation, or business of the same nature as the work
   performed for the hiring entity.” Id. at 916–17. Dynamex applied the ABC test to all employers
   and workers covered by California Industrial Wage Commission (“IWC”) wage orders. Id. at
   964.
           4
              “In California, wage orders are constitutionally-authorized, quasi-legislative regulations that have the
   force of law.” Id. at 914.

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           On September 18, 2019, Defendant the State of California enacted AB 5, which codifies
   Dynamex’s holding and adopts the ABC test for all provisions of the California Labor Code, the
   Unemployment Insurance Code, and IWC wage orders, with numerous exemptions. See A.B. 5,
   Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019); Cal. Lab. Code § 2750.3. For such statutory
   exemptions, AB 5 provides that the multifactor test of independent contractor status established
   in S.G. Borello & Sons, Inc. v. Department of Industrial Relations, 48 Cal. 3d 341 (1989),
   remains in effect. See Cal. Lab. Code § 2750.3(b)–(h). The listed occupations, industries, or
   types of work relationships are subject to additional criteria in order to be exempted from
   application of the ABC test and include, among others: licensed professionals such as doctors
   and lawyers, commercial fishermen, contractors and subcontractors in the construction industry,
   business-to-business service providers, travel agents, graphic designers, freelance writers,
   aestheticians, and business entities providing referred services as home cleaners, dog walkers, or
   tutors. See id. Under AB 5, certain city attorneys may bring injunctive actions, and reclassified
   employers may be subject to pre-existing Labor and Unemployment Insurance Code provisions
   penalizing some violations as misdemeanors. See id. § 2750.3(j); A.B. 5, Ch. 296, 2019–2020
   Reg. Sess. (Cal. 2019).

           On December 30, 2019, Plaintiffs filed the instant lawsuit alleging that AB 5 violates the
   U.S. and California Constitutions and seeking declaratory, injunctive, and other relief from the
   State and Defendant Xavier Becerra, in his capacity as Attorney General of California. [Doc.
   # 1.] Postmates and Uber are both headquartered in San Francisco, California, and are
   commonly referred to as “on-demand economy,” “network economy,” “platform,” or “gig
   economy” companies that use technology to respond to a customer’s immediate or specific need.
   See Compl. at ¶ 3; Andres Decl. at ¶ 3 [Doc. # 17]; Rosenthal Decl. at ¶ 5 [Doc. # 18]; McCrary
   Decl. at ¶ 14 n.1 [Doc. # 19].

           Postmates provides and maintains an online marketplace and mobile platform (the
   “Postmates App”) that connects local merchants, consumers, and drivers5 to facilitate the
   purchase, fulfillment, and—when applicable—delivery of goods from merchants (oftentimes
   restaurants) to consumers. Andres Decl. at ¶4. When consumers place orders of goods for
   delivery through the Postmates App, nearby drivers receive a notification and can choose
   whether to pick up and complete the requested delivery. Id. at ¶¶ 4–5. According to Postmates,
   more than 300,000 drivers in California currently make deliveries through the Postmates App,
   and “the vast majority” of those drivers “provide delivery services only intermittently and for

           5
              Postmates’ Director of Trust and Safety and Insurance Operations describes drivers as “independent
   contractor couriers.” See, e.g., Andres Decl. at ¶ 2. The Court has not been asked to decide whether Postmates’
   couriers are independent contractors or employees under AB 5, Dynamex, Borello, or any other law, and opts to
   describe the couriers as “drivers.”

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   short periods of time.” Id. at ¶ 6. For drivers, there are no set schedules or requirements for
   minimum hours or deliveries. Id. at ¶ 7. Drivers use their own vehicles and determine their own
   appearance and routes, and they may do other work for other employers. Id. at ¶¶ 9–11. Drivers
   who wish to make deliveries through the Postmates App must sign the “Fleet Agreement,” which
   currently explains, inter alia, that the driver is “an independent provider of delivery services”
   and that Postmates and the driver do not have an employer-employee relationship. Id. at ¶¶ 12–
   15.

           Uber provides at least two “digital marketplaces” to connect individual consumers with
   those willing to service them—the UberEats mobile platform (the “UberEats App”) and the Uber
   rideshare mobile platform (the “Uber Rides App”). Rosenthal Decl. at ¶¶ 6–8. The UberEats
   App, like Postmates, connects local merchants, consumers, and drivers to facilitate customers’
   food orders for delivery. Id. at ¶ 8. The Uber Rides App has different interfaces for customers
   seeking a ride (“riders”) and for drivers seeking riders. Id. at ¶¶ 7, 12–15. According to Uber,
   more than 395,000 drivers in California have used Uber platforms to provide services in the year
   beginning October 1, 2018. Id. at ¶ 9. Drivers can choose when and where they drive and accept
   or reject requests as they see fit. Id. at ¶¶ 14–15, 18–19. To use the driver version of the Uber
   Rides app, drivers must agree to Uber’s Technology Services Agreement (the “Rasier Services
   Agreement”), which provides, inter alia, that Uber is “a technology services provider that does
   not provide transportation services” and that the drivers operate as independent contractors, not
   employees. Id. at ¶¶ 20–29. UberEats drivers must also agree to a Technology Services
   Agreement (the “Portier Services Agreement”) with similar provisions. Id. at ¶¶ 30–39.

           Plaintiff Lydia Olson is a driver for Uber, and Plaintiff Miguel Perez is a driver for
   Postmates and, occasionally, Uber Rides and UberEats. Olson Decl. at ¶ 5 [Doc. # 15]; Perez
   Decl. at ¶¶ 2, 4–5 [Doc. # 16]. Olson owns a consulting business and at times takes care of her
   husband, who suffers from multiple sclerosis. Olson Decl. at ¶¶ 2–3. She attests that she
   intentionally chooses to work as an independent contractor for the flexibility and autonomy, as
   well as to help stabilize her fluctuating income. Id. at ¶¶ 4–5, 8–12. Similarly, Perez attests that
   he chose on-demand work to avoid driving a truck during the graveyard shift, to take on more
   family responsibilities, and to increase his income. Perez Decl. ¶¶ 3–8, 18. Neither Individual
   Plaintiff wants to be an employee of Uber or Postmates, and both express concerns about the
   grave impact of AB 5 on their lives. Id. at ¶¶ 19–20; Olson Decl. at ¶¶ 10, 12.

           AB 5 went into effect on January 1, 2020. On January 8, 2020, Plaintiffs filed the instant
   Motion requesting that this Court enjoin Defendants from enforcing AB 5 against Company
   Plaintiffs.


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                                                  II.
                                           JUDICIAL NOTICE

           Both sides seek judicial notice of various documents. Federal Rule of Evidence 201
   permits a court to take judicial notice of facts not subject to reasonable dispute and “capable of
   accurate and ready determination by resort to sources whose accuracy cannot reasonably be
   questioned.” Campbell v. PricewaterhouseCoopers, LLP, 642 F.3d 820, 824 n.3 (9th Cir. 2011)
   (citing Fed. R. Evid. 201(b)). Defendants seek judicial notice of:

           (1) The Order Denying Temporary Restraining Order in American Society of Journalists
               and Authors, Inc. v. Becerra, No. CV 19-10645-PSG (C.D. Cal. Jan. 3, 2020);
           (2) The October 29, 2019 initiative submitted to the California Attorney General’s Office
               entitled “the Protect App-Based Drivers and Services Act.” [Doc. # 21.]

   Plaintiffs seek judicial notice of:

           (1) Plaintiffs’ Motion for Provisional Relief in Regents of University of California v. U.S.
               Department Homeland Security, No. CV 17-05211-WHA (N.D. Cal. Jan. 9, 2018);
           (2) Brief of State Amicus Curiae in International Refugee Assistance Project v. Trump,
               857 F.3d 554 (4th Cir. 2017);
           (3) Order Granting Temporary Restraining Order, California Trucking Association v.
               Becerra, No. CV 18-02458-BEN (BLMx) (S.D. Cal. Dec. 31, 2019);
           (4) Order Granting Preliminary Injunction, California Trucking Association v. Becerra,
               No. CV 18-02458-BEN (BLMx) (S.D. Cal. Jan. 16, 2020);
           (5) Docket Report, First Franklin Financial Corp. v. Franklin First Financial, Ltd., 356
               F. Supp. 2d 1048, CV No. 04-02842-WHA (N.D. Cal. 2005);
           (6) Tweet by @LorenaSGonzalez, Twitter (Jan. 20, 2020, 11:55 p.m.),
               https://twitter.com/LorenaSGonzalez/status/1219528872351322114;
           (7) Tweet by @LorenaSGonzalez, Twitter (Jan. 20, 2020, 11:35 p.m.),
               https://twitter.com/LorenaSGonzalez/status/1219523961517527040. [Doc. # 24.]

            Courts “may take judicial notice of ‘matters of public record.’” Lee v. City of Los
   Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (citation omitted). Documents on file in federal or
   state courts are considered undisputed matters of public record. Harris v. County of Orange, 682
   F.3d 1126, 1132 (9th Cir. 2012). Courts take notice of the existence of such filings, not the truth
   of the facts recited therein. Lee, 250 F.3d at 689–90.




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           The Court hereby GRANTS both requests for judicial notice regarding Assemblymember
   Gonzalez’s Tweets and the fact that the court documents were filed, but not of the facts asserted
   in the court documents. The Court also sua sponte takes notice of the Tweets and media reports
   referred to in the Complaint and the moving papers, as those documents’ existence cannot
   reasonably be disputed. Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954,
   960 (9th Cir. 2010) (“Courts may take judicial notice of publications introduced to ‘indicate what
   was in the public realm at the time, not whether the contents of those articles were in fact true.’”
   (citations omitted)). The Court also sua sponte takes notice of legislative history cited by
   Defendants at oral argument. See Assemb. Comm. Rep., AB 5, 2019–2020 Reg. Sess. (Cal. July
   10, 2019). Because the Court does not rely on the “Protect App-Based Drivers and Services
   Act” in its analysis below, the Court DENIES as moot Defendants’ request for judicial notice of
   that document.

                                                 III.
                                             DISCUSSION

           A plaintiff seeking a preliminary injunction must show that (1) she is likely to succeed on
   the merits; (2) she is likely to suffer irreparable harm in the absence of preliminary relief; (3) the
   balance of equities tips in her favor; and (4) an injunction is in the public interest. Winter v. Nat.
   Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). A preliminary injunction is also appropriate
   under the Ninth Circuit’s “sliding scale” approach when a plaintiff raises “serious questions
   going to the merits” and demonstrates that “the balance of hardships tips sharply in the plaintiff’s
   favor,” in addition to showing the final two Winter factors. All. for the Wild Rockies v. Cottrell,
   632 F.3d 1127, 1134–35 (9th Cir. 2011) (quoting Lands Council v. McNair, 537 F.3d 981, 987
   (9th Cir. 2008)). The Supreme Court has cautioned that “[a]n injunction is an exercise of a
   court’s equitable authority,” which should not be invoked as a matter of course, and “a court
   should be particularly cautious when contemplating relief that implicates public interests.”
   Salazar v. Buono, 559 U.S. 700, 714 (2010).

           In the Ninth Circuit, the four “elements of the preliminary injunction test are balanced, so
   that a stronger showing of one element may offset a weaker showing of another.” Cottrell, 632
   F.3d at 1131. The Court assesses each factor seriatim.

   A.      Likelihood of Success on the Merits

          Plaintiffs’ Complaint contains 10 claims against Defendants for violations of the U.S.
   Constitution’s Ninth Amendment and Equal Protection, Due Process, and Contract Clauses and
   the California Constitution’s “Baby Ninth Amendment” and Inalienable Rights, Equal

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   Protection, Due Process, and Contract Clauses. [Doc. # 1.] Plaintiffs’ Motion for Preliminary
   Injunction focuses on AB 5’s alleged discrimination against Plaintiffs in violation of Equal
   Protection, deprivation of Individual Plaintiffs’ substantive due process right to pursue their
   chosen professions, and impairment of contracts between Individual and Company Plaintiffs.
   See, e.g., Mot. at 9–10 [Doc. # 14].6 The Court therefore addresses only these claims.

          Under the sliding scale approach, Plaintiffs must demonstrate at a minimum “that serious
   questions going to the merits were raised.” Cottrell, 632 F.3d at 1134–35. For the reasons stated
   below, the Court does not find likelihood of success on the merits or that sufficiently serious
   questions have been raised as to the merits of these claims.

                    1.      AB 5 is rationally related to a legitimate state interest and did not
                            target gig economy companies in violation of Equal Protection

          The Fourteenth Amendment’s Equal Protection Clause “commands that no State shall
   ‘deny to any person within its jurisdiction the equal protection of the laws[.]’” City of Cleburne
   v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (quoting Plyler v. Doe, 457 U.S. 202, 216
   (1982)).

           Plaintiffs argue that AB 5 targets gig economy companies and workers and treats them
   differently from similarly situated groups. Mot. at 16–17. The parties appear to agree that AB 5
   does not warrant “some form of heightened review” because it implicates no fundamental right
   or suspect classification. Nordlinger v. Hahn, 505 U.S 1, 10 (1992); see Mot. at 16; Opp. at 14–
   15. Accordingly, the Court need only determine whether, under the Equal Protection Clause, the
   statute rationally furthers “a legitimate state interest.” Nordlinger, 505 U.S. at 10. Under the
   rational review test, a statute bears “a strong presumption of validity,” and “those attacking the
   rationality of the legislative classification have the burden ‘to negative every conceivable basis
   which might support it.’” F.C.C. v. Beach Commc’ns, 508 U.S. 307, 314–15 (1993) (quoting
   Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S. 356, 364 (1973)). The Equal Protection
   inquiry does not license the Court to “‘judge the wisdom, fairness, or logic of legislative
   choices,’” and it ends if the Court finds a “‘plausible reason[] for [California’s] action.’” Fowler
   Packing Co., Inc. v. Lanier, 844 F.3d 809, 815 (9th Cir. 2016) (quoting Beach Commc’ns, 508
   U.S. at 313–14)). Plaintiffs therefore bear the heavy burden of demonstrating that AB 5
   irrationally targets gig economy companies and workers.



           6
               All page references herein are to page numbers inserted in the header of the document by the CM/ECF
   filing system.

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          Section 1 of AB 5 sets forth a statement of purpose that describes “[t]he misclassification
   of workers as independent contractors [as] a significant factor in the erosion of the middle class
   and the rise in income inequality.” A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019). The
   Legislature’s stated intent in enacting AB 5 is:

           to ensure workers who are currently exploited by being misclassified as
           independent contractors instead of recognized as employees have the basic rights
           and protections they deserve under the law, including a minimum wage, workers’
           compensation if they are injured on the job, unemployment insurance, paid sick
           leave, and paid family leave.

   Id.

           The statement of purpose also explicitly provides that “[b]y codifying the California
   Supreme Court’s landmark, unanimous Dynamex decision, this act restores these important
   protections to potentially several million workers who have been denied these basic workplace
   rights that all employees are entitled to under the law.” Id. The State’s asserted interest in
   protecting exploited workers to address the erosion of the middle class and income inequality
   thus appears to be based on a “reasonably conceivable state of facts that could provide a rational
   basis” for any ostensible targeting of gig economy employers and workers.7 RUI One Corp. v.
   City of Berkeley, 371 F.3d 1137, 1154 (9th Cir. 2004) (quoting Beach Commc’ns, 508 U.S. at
   313); see Nordlinger, 505 U.S. at 11 (finding the state interest legitimate “so long as there is a
   plausible policy reason for the classification” and “the legislative facts on which the
   classification is apparently based rationally may have been considered to be true by the
   governmental decisionmaker”). Given this plausible reason for enacting AB 5, the Court’s
   inquiry could end here. See Fowler Packing, 844 F.3d at 815.

           But Plaintiffs argue that AB 5 does not rationally further that asserted governmental
   interest because its numerous exemptions “roll[] back Dynamex for the wage order claims of”
   workers who would otherwise be covered by Dynamex. Reply at 7 [Doc. # 23]. Asserting that
   many of the employers and workers in the exempted industries are “similarly situated to
   Plaintiffs,” Plaintiffs proffer the example that “an individual who chooses to earn income by
   direct selling Tupperware is exempt, and yet, if that same person earns extra income by offering
   driving services, there is no exemption.” Id. This example overlooks AB 5’s requirement that a
   direct salesperson must meet additional conditions described in Section 650 of the

           7
              The Legislature’s choice is entitled to such deference on rational basis judicial review that it “is not
   subject to courtroom fact-finding and may be based on rational speculation unsupported by evidence or empirical
   data.” Beach Commc’ns, 508 U.S. at 315.

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   Unemployment Insurance Code, and ignores the practical differences between direct selling and
   gig economy driving. Cal. Lab. Code § 2750.3(b)(5); see Cal. Unemp. Ins. Code § 650 (defining
   direct salespersons in part as individuals who attempt to sell products in a buyer’s home and not
   in a retail or wholesale establishment). It is rational to infer that direct salespersons exert
   independence and control in choosing their sales targets and locations and how they interact with
   customers in closing their sales. Moreover, outside salespersons have been exempt from wage
   orders under California law long before AB 5. Cal. Lab. Code § 1171 (“The provisions of this
   chapter . . . shall not include any individual employed as an outside salesman[.]”); IWC Wage
   Order No. 7-2001(1)(C), codified at Cal. Code Regs. Tit. 8, § 11070(1)(C) (“The provisions of
   this order shall not apply to outside salespersons.”).

           In addition, referring to AB 5’s “service provider” exemption, Plaintiffs argue that “there
   is no material difference between providing local ‘moving’ of items from one’s home [to which
   AB 5 does not apply] and local delivery of items to one’s home [to which AB 5 does apply].”
   Reply at 11; see Cal. Lab. Code § 2750.3(g)(2)(C). But that exemption covers only “a business
   entity, who performs services for a client through a referral agency,” not “individual workers.”
   Cal. Lab. Code § 2750.3(g)(3). Thus, one material difference between a local moving company
   which may be exempted from AB 5 and a Postmates delivery driver who may be covered by AB
   5 is the moving company’s entity status. Plaintiffs also ignore the numerous additional criteria to
   be met by any business entity providing services, such as tutoring (if the person develops and
   teaches their own curriculum) and pet boarding (a regulated industry under the California Health
   and Safety Code section 122386), including “set[ting] its own rates for services performed,
   without deduction by the referral agency” and “deliver[ing] services to the client under service
   provider’s name, rather than under the name of the referral agency.” Id. at § 2750.3(g)(1).8

           These examples are thus dissimilar from the classification rejected in Merrifield v.
   Lockyer, 547 F.3d 978 (9th Cir. 2008), in which the government “undercut its own rational basis
   for the licensing scheme by excluding [plaintiff] from the exemption.” Id. at 992. In that case,
   the Ninth Circuit found no rational explanation to require certain pest controllers dealing with
   mice or pigeons to obtain a license relating to pesticide use, while similar pest controllers dealing
   with bats or squirrels were exempted from the licensing requirement, despite being more likely
            8
              In their Complaint and Reply, Plaintiffs also argue that AB 5 is irrational because “some types of workers
   are excluded (e.g., a delivery truck driver delivering milk) while others performing substantively identical work are
   not excluded (e.g., a delivery truck driver delivering juice).” Reply at 9– 0 (quoting Compl. ¶ 24). Plaintiffs appear
   to be referring to the longstanding provision of the California Unemployment Insurance Code—also found in a
   regulation of the Internal Revenue Service—that “an agent-driver or commissioner-driver engaged in
   distributing . . . beverages (other than milk)” is considered an employee. See Cal. Unemployment Ins. Code
   § 621(c)(1)(A); 26 CFR § 31.3121(d)-1(d)(1)(i). No milkman exemption is contained in AB 5, which modified
   Unemployment Insurance Code section 621 solely to describe the ABC test and utilize gender-neutral nouns.

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   than the former group to encounter pesticides. Id. at 988, 992. Plaintiffs have not shown that
   their work arrangements are so similar to exempted work arrangements that exempting Uber and
   Postmates from AB 5’s application would further the State’s interest in preventing
   misclassification of independent contractors. Thus, they have not borne their heavy burden of
   showing that AB 5’s exemption of other categories of industries and workers “contradicts the
   purposes of the prevailing wage law.” Allied Concrete & Supply Co. v. Baker, 904 F.3d 1053,
   1066 (9th Cir. 2018).

           Plaintiffs’ reliance on Fowler Packing is also unavailing. There, the Ninth Circuit held
   that the only conceivable explanation for “carve-outs” making three or four specific employers
   ineligible for a “safe harbor” affirmative defense against a piece-rate wage law was to procure
   the support of a labor union. 844 F.3d at 816 (“[W]e cannot conceive of a legitimate interest that
   would explain this decision.”); see also Allied Concrete, 904 F.3d at 1066 (describing the
   exemption in Fowler Packing as “clearly suggest[ing] improper favoritism”). It is true that
   Defendants’ Opposition does not provide specific justifications for every exemption in AB 5,
   besides the broad exemption for licensed professionals such as architects and dentists. See Opp.
   at 20. But “the burden is on plaintiffs to negate ‘every conceivable basis’ which might have
   supported the distinction between exempt and non-exempt entities.” Angelotti Chiropractic, Inc.
   v. Baker, 791 F.3d 1075, 1086 (9th Cir. 2015) (quoting Armour v. City of Indianapolis, 566 U.S.
   673, 681 (2012)).

             To explain the exemptions, Defendants point to the traditional distinctions between
   independent contractors and employees. AB 5 maintains exemptions of workers who were
   previously exempted under Dynamex—workers in the “administrative, executive, or professional
   category” and “outside salespersons.” 4 Cal. 5th at 925 n.8. In addition, the Assembly
   Committee on Labor & Employment noted that AB 5 needed to account for other types of typical
   independent contractors. See Assemb. Comm. Rep., AB 5, 2019 – 2020 Reg. Sess., at 8 (Cal.
   July 10, 2019). The Committee focused on “occupation-by-occupation rules” based on a
   framework consisting of: market strength (i.e., if there are finite numbers of skilled
   practitioners), rate setting, relationship between contractor and client, and “technological
   neutrality” (i.e., making no distinction between the Yellow Pages and an internet-based
   intermediary connecting contractor and client and asking instead “if the intermediary is
   . . . deriving disproportionate benefits from the relationship”). Id. at 8–12.

           There are rational explanations for AB 5’s exemptions under this framework, because the
   work relationships described therein require business organization, skill, self-direction, self-
   pricing, shorter or less frequent work terms, a distinct location, specific type of work, and other
   hallmarks of independent status. See Dynamex, 4. Cal. at 932–35 (discussing Borello, 48 Cal.3d

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   at 355–56). Plaintiffs have not negated Defendants’ argument that “the Legislature had ample
   basis to determine that in certain occupations, independent contractor status was lawful and did
   not cause the systemic harm . . . associated with misclassification.”9 Opp. at 19 n.9. Nor have
   Plaintiffs offered evidence showing that legislators could not have reasonably conceived AB 5’s
   stated purpose to be true—i.e., that the legislation aimed to alleviate “the erosion of the middle
   class and the rise in income inequality” and that the ABC test is rationally related to reducing
   misclassification.10 A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019). Without “‘judg[ing]
   the wisdom, fairness, or logic of legislative choices,’” the Court finds that AB 5 furthers the
   State’s legitimate interest in addressing misclassification. Fowler Packing, 844 F.3d at 815
   (quoting Beach Commc’ns, 508 U.S. at 313–14)).

           Instead of negating every conceivable basis for AB 5’s exemptions, Plaintiffs argue that
   the statute is “inexplicable by anything but animus toward the class it affects,” Mot. at 20
   (quoting Romer v. Evans, 517 U.S. 620, 632 (1996)), based in part on the bill’s sponsor’s alleged
   refusal to consider an exemption for gig economy companies. Reply at 10. Plaintiffs assert that
   AB 5’s supporters “did their best to limit the scope of the law only to the network companies”
   and that AB 5 “leave[s] nearly all non-app-based independent workers out in the cold.” Mot. at
   13, 19. But that argument is plainly belied by the expansive language of the statute, which
   applies to “a person providing labor or services for remuneration,” unless that person meets the
   ABC test or satisfies an exemption.11 Cal. Lab. Code § 2750.3(a)(1), (b). In addition, the Ninth

             9
               At the hearing, Plaintiffs cited an online article to argue that an ABC test exemption for newspaper
   carriers codified in a different bill, AB 170, was motivated solely by political favoritism and is thus illegitimate.
   Plaintiffs have not explained why a separately-passed bill undercuts the validity of AB 5 or why there is no other
   conceivable reason, other than political favoritism, why a local newspaper delivery person should not be exempt
   from the ABC test. The Legislature’s framework for determining exemptions appears to apply with equal vigor to
   the delivery of newspapers, which is not a growing industry.
             10
                Plaintiffs say that it is “incorrect” that “Dynamex’s ABC test is a benefit to the middle class and an
   engine of income equality,” but offer no data to support that position. Reply at 10. The declaration of economist
   Justin McCrary discusses the benefits of the gig economy and costs associated with implementing AB 5, but does
   not address the broader and more pervasive problem of misclassification across the California economy. See
   generally McCrary Decl. Accordingly, “Plaintiffs have not met their high burden of convincing us that these
   legislative facts ‘could not reasonably be conceived to be true by the governmental decisionmaker.’” Allied
   Concrete, 904 F.3d at 1061 (quoting Vance v. Bradley, 440 U.S. 93, 111 (1979)).
            11
               In a declaration submitted by Plaintiffs, McCrary noted that “well over one million independent
   contractors in California” could be reclassified under AB 5, a number far greater than the number of drivers claimed
   by Uber and Postmates. McCrary Decl. at ¶ 37. Plaintiffs also submitted a series of Tweets by Assemblymember
   Gonzalez stating, “A majority of folks affected by the bill are construction workers, janitors, child care providers,
   home healthcare workers, nail salon technicians, delivery drivers & other lower wage service workers.” Stoker
   Decl., Ex. C (Tweet by @LorenaSGonzalez, Twitter (Jan. 5, 2020)).

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   Circuit has held that a plaintiff cannot prove invidious discrimination simply by alleging that
   legislators responded to lobbying efforts, because “[a]ccommodating one interest group is not
   equivalent to intentionally harming another.” Gallinger v. Becerra, 898 F.3d 1012, 1020–21 (9th
   Cir. 2018) (finding no impermissible animus in statute’s exemption for retired police officers
   after “political pressure” resulting from “potent lobbying efforts by the law enforcement
   community.”). The right to lobby is “constitutionally protected.” Id. at 1021. Furthermore,
   even if legislators refused to make any exemptions for gig economy companies, Plaintiffs have
   not shown that their choice is illegitimate. The Supreme Court has observed that “‘reform may
   take one step at a time, addressing itself to the phase of the problem which seems most acute to
   the legislative mind. The legislature may select one phase of one field and apply a remedy there,
   neglecting the others.’” RUI One Corp., 371 F.3d at 1155 (quoting Beach Commc’ns, 508 U.S.
   at 316).

           Plaintiffs correctly point out, however, that the record contains some evidence that AB 5
   targeted Company Plaintiffs and other gig economy companies, and that some lawmakers’
   statements specifically complained about Uber.12 But such targeting, even if it rises to the level


             In addition, one University of California, Berkeley study cited by Defendants in their Opposition notes that
   although “[t]he lion’s share of media attention surrounding AB 5 has gone to the law’s effects on on-demand labor
   platforms like Uber and Lyft . . . , these workers represent just a fraction of independent contractors, most of whom
   work across a diverse range of occupations such as janitors, hair stylists, and accountants.” Sarah Thomason, Ken
   Jacobs, and Sharon Jan, Estimating the Coverage of California’s New AB 5 Law, UC Berkeley Labor Center (Nov.
   12, 2019), http://laborcenter.berkeley.edu/estimating-the-coverage-of-californias-new-ab-5-law/. Using data from
   the 2017 American Community Survey by the U.S. Census Bureau, the study’s authors concluded that (1) of all
   California workers who are independent contractors as their primary job, AB 5 applies the ABC test to the 64
   percent of potentially misclassified independent contractors who work as janitors, truck drivers, retail workers, and
   childcare providers, among other occupations; (2) the ABC test applies, except when strict criteria are met, to the 27
   percent of independent contractors who are construction workers, barbers, designers, writers, and sales
   representatives, among others; and (3) the ABC test does not apply to the 9 percent of independent contractors who
   are real estate agents, lawyers, accountants, and doctors, among others. Id.
            12
               California Assemblymembers, including AB 5’s sponsor Assemblymember Lorena Gonzalez, have
   publicly criticized rampant misclassification at gig economy companies and explained that AB 5 would address the
   gig economy’s perceived exploitation of workers. See Compl. at ¶¶ 15–18, 63–68 (collecting Tweets and news
   articles). For example, Assemblymember Gonzalez published an op-ed in the Washington Post on September 11,
   2019 entitled “The gig economy has costs. We can no longer ignore them.” that specifically named Uber among
   other companies that “skirt labor laws, exploit working people and leave taxpayers holding the bag.” See id.at ¶ 16
   (citing Lorena Gonzalez, The Gig Economy Has Costs. We Can No Longer Ignore Them., Wash. Post (Sept. 11,
   2019),      https://www.washingtonpost.com/opinions/2019/09/11/gig-economy-has-costs-we-can-no-longer-ignore-
   them/). Assembly Speaker Anthony Rendon, the principal coauthor of the bill, Tweeted in July 2019: “The gig
   economy is nothing new. It’s a continuation of hundreds of years of corporations trying to screw over workers.
   With #AB5, we’re in a position to do something about that.” See id. at ¶ 65a (citing @Rendon63rd, Twitter (July

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   of animus toward gig economy companies, does not establish an Equal Protection violation
   where the statute addresses legitimate concerns of deleterious misclassification of workers in
   many industries, not just the gig economy. Under rational basis review, where a statute classifies
   a “politically unpopular group [that] is not a traditionally suspect class, a court may strike down
   the challenged statute under the Equal Protection Clause ‘if the statute serves no legitimate
   governmental purpose and if impermissible animus toward an unpopular group prompted the
   statute’s enactment.’” Animal Legal Def. Fund v. Wasden, 878 F.3d 1184, 1200–01 (9th Cir.
   2018) (quoting Mountain Water Co. v. Mont. Dep’t of Pub. Serv. Regulation, 919 F.2d 593, 598
   (9th Cir. 1990)) (emphasis added). Because Plaintiffs have failed to meet their burden to show
   that they are a “politically unpopular group” as construed in the case law and that AB 5 serves no
   legitimate governmental purpose, see Beach Commc’ns, 508 U.S. at 314, the statute survives
   rational basis review.13

           The Court concludes that no serious questions exist as to Plaintiffs’ likelihood of success
   on the merits on their Equal Protection claims, and this factor therefore weighs against granting
   Plaintiffs’ Motion.

                    2.       AB 5 does not deprive gig economy workers of the right to pursue
                             their chosen occupation

           The California and U.S. Constitutions also prohibit California from depriving any person
   of “life, liberty, or property without due process of law.” U.S. Const. amend. XIV, § 1; Cal.
   Const. art I, § 7(a). Courts have recognized a liberty interest based on some “generalized due
   process right to choose one’s field of private employment,” but that right is “subject to
   reasonable government regulation.” Conn v. Gabbert, 526 U.S. 286, 291–92 (1999). The line of
   cases establishing a liberty interest in pursuing a chosen profession “‘all deal[] with a complete

   10, 2019, 4:40 p.m.), https://twitter.com/Rendon63rd/status/1149101100928159744). The Court notes that many of
   the legislators’ statements selected by Plaintiffs appear to refer to Uber, Postmates, and other gig economy
   companies as examples of a larger problem of misclassification by corporations, not as the sole targets of AB 5.
           13
                Examples of politically unpopular groups cited by Plaintiffs include lesbian, gay, and bisexual
   individuals targeted by a Colorado constitutional amendment, see Romer v. Evans, 517 U.S. 620, 634 (1996), and
   mentally disabled individuals, where building a group home for such individuals required a unique special use
   permit, see City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 444 (1985). In U. S. Dep’t of Agric. v. Moreno,
   413 U.S. 528 (1973), the Supreme Court concluded, based on legislative history, that an exclusion from the Food
   Stamp Act was solely motivated by animus toward politically unpopular “hippies.” Id. at 534. Far from being
   politically unpopular, the burgeoning demand for gig companies’ services stems from their widespread acceptance
   by consumers. More importantly, AB 5 is distinguishable from the invalidated state actions in Romer, Cleburne,
   and Moreno not only because a legitimate state interest in addressing misclassification exists, but because AB 5’s
   text and legislative history make clear that it was not enacted to target solely gig economy companies.

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   prohibition of the right to engage in a calling[.]’” Franceschi v. Yee, 887 F.3d 927, 938 (9th Cir.
   2018) (quoting Conn, 526 U.S. at 292).

           Because this vocational liberty interest is not a fundamental right, the Court needs only to
   determine “whether the legislation has a ‘conceivable basis’ on which it might survive
   constitutional scrutiny.” Dittman v. California, 191 F.3d 1020, 1031 (9th Cir. 1999); see also id.
   at 1031 n.5 (“The [Supreme] Court has never held that the ‘right’ to pursue a profession is a
   fundamental right, such that any state-sponsored barriers to entry would be subject to strict
   scrutiny.”). For the reasons stated above, AB 5 survives rational basis review because it
   conceivably furthers the State’s legitimate interest in preventing misclassification of millions of
   workers.

           In any event, AB 5 is not a “complete prohibition” on Individual Plaintiffs’ ability to
   pursue any profession. Conn, 526 U.S. at 292. Indeed, Uber and Postmates insist that their
   drivers qualify as independent contractors even under the ABC test. See Compl. at ¶ 19;
   Rosenthal Decl. at ¶ 56. And Olson and Perez can still work as independently contracted drivers
   if they satisfy the ABC test or fall under an exemption, such as the one discussed supra which
   exempts business entities providing services through referral agencies. See Cal. Lab. Code
   § 2750.3(g)(2). Cf. Franceschi, 887 F.3d at 938 (holding that an attorney’s due process claim
   failed “for the obvious reason that the [contested government action] does not operate as a
   complete prohibition on his ability to practice law, which it must to violate substantive due
   process”). Even if Individual Plaintiffs’ employment status would change under AB 5, they
   potentially could still pursue their line of work, provided that their employers compensate them
   properly and allow them to have flexible work schedules. Plaintiffs’ due process claim is thus
   unlikely to succeed.14



             14
                Similarly, Plaintiffs’ claim of “violation of the California Constitution’s Inalienable Rights Clause,”
   which appears to be rooted in similar arguments about AB 5’s effect on Individual Plaintiffs’ right to pursue their
   chosen profession, is also unlikely to succeed on its merits. See Mot. at 20; Compl. at 38. California and federal
   courts have found that Article I, Section 1 of the California Constitution, which provides that “[a]ll people are by
   nature free and independent and have inalienable rights,” indicates mere principles and does not create a private
   right of action. See Bates v. Arata, No. C 05-3383 SI, 2008 WL 820578, at *4 (N.D. Cal. Mar. 26, 2008), order
   clarified sub nom. Bates v. San Francisco Sheriff’s Dep’t, No. C 05-3383 SI, 2008 WL 961153 (N.D. Cal. Apr. 7,
   2008); Clausing v. San Francisco Unified Sch. Dist., 221 Cal. App. 3d 1224, 1237 (1990).

            The Court’s analysis of the likelihood of success on the merits of the federal due process claim also applies
   with equal force to the due process claim under the California Constitution. See Sanchez v. City of Fresno, 914 F.
   Supp. 2d 1079, 1116 (E.D. Cal. 2012) (“California’s Due Process Clause is ‘identical in scope with the federal due
   process clause.’” (quoting Owens v. City of Signal Hill, 154 Cal. App. 3d 123, 127 n.2 (Cal. Ct. App. 1984)).

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                  3.      Enforcement of AB 5 does not unconstitutionally impair Plaintiffs’
                          contracts

            The Contract Clause bars states from passing any “Law impairing the Obligation of
   Contracts.” U.S. Const. art. I, § 10, cl. 1. Similarly, the California Constitution prohibits the
   Legislature from enacting a “law impairing the obligation of contracts.” Cal. Const. art I, § 9.
   “Although the text of the Contract Clause is ‘facially absolute,’ the Supreme Court has long held
   that ‘its prohibition must be accommodated to the inherent police power of the State to safeguard
   the vital interests of its people.’” RUI One Corp., 371 F.3d at 1147 (quoting Energy Reserves
   Grp., Inc. v. Kan. Power & Light Co., 459 U.S. 400, 410 (1983) (internal quotation marks
   omitted)). Unless a challenged statute impairs a state’s own contractual obligations, determining
   whether a statute violates the Contract Clause involves a three-step inquiry: (1) “whether the
   state law has, in fact, operated as a substantial impairment of a contractual relationship”; (2)
   whether the state has “a significant and legitimate public purpose behind the [law], such as the
   remedying of a broad and general social or economic problem”; and (3) “whether the adjustment
   of the ‘rights and responsibilities of contracting parties is based upon reasonable conditions and
   is of a character appropriate to the public purpose justifying the legislation’s adoption.’” Id.
   (quoting Energy Reserves Grp., 459 U.S. at 411–13).

           The threshold inquiry—whether the state law substantially impairs a contractual
   relationship—has three components: “whether there is a contractual relationship, whether a
   change in law impairs that contractual relationship, and whether the impairment is substantial.”
   Gen. Motors Corp. v. Romein, 503 U.S. 181, 186 (1992). Plaintiffs assert that each component is
   easily met because Olson and Perez signed agreements with Uber and Postmates stating that they
   were independent contractors, and AB 5 substantially alters those agreements to “eliminate the
   very essence of Plaintiffs’ contractual bargain” and reclassify Olson and Perez as employees.
   Mot. at 22.

           The existence of contractual relationships between Company Plaintiffs and their drivers
   is clear. But Uber and Postmates have explicitly stated that AB 5 does not require them to
   reclassify their drivers as employees. Plaintiffs’ Complaint and Motion refer to “forced
   classification” as if Uber’s and Postmates’ drivers necessarily transform into employees under
   AB 5. Yet in their Complaint, Uber and Postmates also assert that, even under the ABC test,
   their drivers are independent contractors. See Compl. at ¶ 19 (“Company Plaintiffs maintain that
   (among other things) they are not hiring entities under AB 5 and can establish that app-based
   independent service providers are not employees under the ABC test.”). According to Uber’s
   Director of Strategic Operational Initiatives, “AB 5 does not require Uber to treat the
   independent drivers and delivery persons as employees because, inter alia, Uber does not ‘hire’

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   these independent service providers and these independent service providers are not employees
   under the ‘ABC test’ adopted by AB 5.” Rosenthal Decl. at ¶ 56. Postmates’ Director of Trust
   and Safety and Insurance Operations attests that “Postmates would not need to make . . . changes
   to its business model . . . absent the threat of AB 5 being enforced against Postmates.” Andres
   Decl. at ¶ 46. Over one year since Dynamex issued and over one month since AB 5’s effective
   date, Uber and Postmates still assert that the ABC test does not affect the status of their drivers.
   Accordingly, their contractual relationships with drivers are not at all impaired, much less
   substantially impaired.

           Moreover, when entering the Postmates Agreement, Rasier Services Agreement (for Uber
   Rides drivers), and/or Portier Services Agreement (for Uber Eats drivers), Plaintiffs reasonably
   should have expected that the terms setting forth a driver’s contractor status were not
   independently determinative of employment classification. According to the Ninth Circuit,
   “California law is clear that ‘[t]he label placed by the parties on their relationship is not
   dispositive, and subterfuges are not countenanced.’” Alexander v. FedEx Ground Package Sys.,
   Inc., 765 F.3d 981, 989 (9th Cir. 2014) (quoting Borello, 48 Cal. 3d at 349)). Under the prior
   Borello standard for determining employment status, “[w]hat matters is what the contract, in
   actual effect, allows or requires.” Id. Nothing in Dynamex or AB 5 alters this approach. Olson
   and Perez thus cannot expect to be considered independent contractors solely because their
   contracts with Uber and Postmates say so.

           In addition, a court is less likely to find substantial impairment when a state law “was
   foreseeable as the type of law that would alter contract obligations.” Energy Reserves Grp., 459
   U.S. at 416. Each of the contracts at issue here was entered into in the wake of foreseeable
   potential enforcement of the ABC test to Company Plaintiffs’ drivers. Uber last updated its
   Rasier Services Agreement on November 25, 2019. See Rosenthal Decl., Ex. A at 17; Ex. B at
   45. The Postmates Agreement is effective as of May 11, 2019. See Andres Decl., Ex A at 17.
   Both contracts were updated after April 2018, when the California Supreme Court issued
   Dynamex. In fact, the Rasier Services Agreement was updated after AB 5 was passed, when
   Company Plaintiffs were certainly aware that the ABC test could apply to their drivers’
   contracts. And, though Uber’s Portier Services Agreement was last updated on August 26, 2016,
   see Rosenthal Decl., Ex. B at 45, several courts had already opined by August 2016 that Uber
   drivers could plausibly be considered employees despite contractual language. See Doe v. Uber
   Techs., Inc., 184 F. Supp. 3d 774, 783 (N.D. Cal. 2016) (holding at motion to dismiss stage that
   plaintiff drivers “alleged sufficient facts that an employment relationship may plausibly exist”);
   O’Connor v. Uber Techs., Inc., 82 F. Supp. 3d 1133, 1138 (N.D. Cal. 2015) (finding a triable
   issue of fact on whether Uber drivers are employees—the case ultimately settled). Plaintiffs thus


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   should have foreseen that the independent contractor status of drivers set forth in their contracts
   could be challenged, regardless of whether AB 5 was enacted.

           In response, Plaintiffs cite to inapposite cases that find substantial impairment of existing
   contracts based on statutes that applied retroactively. See, e.g., Allied Structural Steel Co. v.
   Spannaus, 438 U.S. 234, 250–51 (1978) (finding that a pension law substantially impaired
   contracts where it would have retroactively modified compensation that an employer had agreed
   to pay for the past 11 years); In re Workers’ Comp. Refund, 46 F.3d 813, 818 (8th Cir. 1995)
   (finding that a retroactively applied statute changing who received payment of any excess
   insurance premiums “destroy[ed] the insurance companies’ reasonable expectations”); Garris v.
   Hanover Ins. Co., 630 F.2d 1001, 1006 (4th Cir. 1980) (finding that a retroactively applied
   statute severely limiting an insurer’s ability to terminate an agency relationship substantially
   impaired existing insurer-agent contracts that permitted easy termination). AB 5 does not apply
   retroactively such that Uber and Postmates would be required to pay back wages, payroll taxes,
   unemployment insurance premiums, and other sums based on prior misclassification of workers
   under the ABC test. Instead, AB 5 applies to work performed after January 1, 2020. The Court
   therefore finds that if any impairment of contractual relationships exists at all, it is minimal, not
   substantial.

           Even if Plaintiffs could establish a substantial impairment, the Court finds, for similar
   reasons set forth supra, Part III.A.1, that Plaintiffs cannot successfully answer the second
   question of whether the State had “a significant and legitimate public purpose . . . of remedying a
   broad and general social or economic problem.” Energy Reserves Grp., 459 U.S. at 411–12.
   The Court notes that “[t]he more severe the impairment, the more searching the examination of
   the legislation must be.” Campanelli v. Allstate Life Ins. Co., 322 F.3d 1086, 1098 (9th Cir.
   2003). But even under this heightened review, Plaintiffs have not shown that AB 5 does not
   serve a significant and legitimate public purpose. The Ninth Circuit has stated, in an unrelated
   Contract Clause challenge to a living wage ordinance, that “[t]he power to regulate wages and
   employment conditions lies clearly within a state’s or a municipality’s police power.” RUI One
   Corp., 371 F.3d at 1150. In that case, the Ninth Circuit upheld an ordinance that required
   employers to provide employees higher wages and improved benefits immediately, rather than
   after signing new contracts incorporating the ordinance’s terms. Id. The court noted that
   “‘[s]tates possess broad authority under their police powers to regulate the employment
   relationship to protect workers within the State,” such as through “minimum and other wage
   laws [and] laws affecting occupational health and safety.” Id. (quoting Life Ins. Co. v.
   Massachusetts, 471 U.S. 724, 756 (1985)). Similarly, AB 5 is an exercise of the State’s police
   power to protect workers aimed at remedying what it perceives to be a broad economic and
   social problem. The text of AB 5, echoing the California Supreme Court in Dynamex, targets

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   misclassification as “a significant factor in the erosion of the middle class and the rise in income
   inequality.” A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019). Thus, even if Plaintiffs can
   show substantial impairment of contracts, AB 5 satisfies the public purpose test imposed in a
   Contract Clause challenge. No serious questions exist as to the merits of Plaintiffs’ Contract
   Clause claims.

          In sum, Plaintiffs have not shown either a likelihood of success on the merits or that
   serious questions exist as to any of their claims highlighted in this motion.15 Accordingly,
   Winter’s first factor weighs heavily against granting the preliminary injunction.

   B.       Irreparable Harm

           Plaintiffs “‘[must] demonstrate that irreparable injury is likely in the absence of an
   injunction,’ not merely that it is possible.” Arc of Cal. v. Douglas, 757 F.3d 975, 990 (9th Cir.
   2014) (quoting Winter, 555 U.S. at 22).16

           As discussed supra Part III.A.3, statements by Uber and Postmates directors and in
   Plaintiffs’ Complaint indicate that, without the threat of enforcement, Uber and Postmates would
   not take any action under AB 5 and would not suffer any irreparable injury from “forced
   reclassification.” See Compl. at ¶ 19; Rosenthal Decl. at ¶ 56; Andres Decl. at ¶ 46.

           Regardless of how the ABC test in fact applies to their drivers, Uber and Postmates have
   asserted a fear of enforcement and litigation based on the statute and lawmakers’ statements. See
   Compl. at ¶ 18. AB 5 specifically provides city attorneys with the authority to bring injunctive
   actions against companies and exposes them to potential criminal penalties under the California
   Labor Code and Unemployment Insurance Code for violators. See Cal. Lab. Code § 2750.3(j);

             15
                This conclusion is not at odds with another district court’s finding of likelihood of success on the merits
   of a trucking association’s challenge to AB 5. See Cal. Trucking Ass’n v. Becerra, No. CV 18-02458-BEN, 2020
   WL 248993 at *10 (BLMx) (S.D. Cal. Jan. 16, 2020). In that case, plaintiff raised serious questions regarding
   whether the Federal Aviation Authorization Administration Act of 1994 preempted any state legislation relating to
   aspects of the trucking industry. Id. No similar argument is available to Plaintiffs, whose claims rest on alleged
   constitutional violations, rather than preemption.
            16
               Plaintiffs are correct that “‘an alleged constitutional infringement will often alone constitute irreparable
   harm.’” Monterey Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997) (quoting Assoc. Gen. Contractors v.
   Coal. For Econ. Equity, 950 F.2d, 1401, 1412 (9th Cir. 1991)). But where the “constitutional claim is too tenuous,”
   courts need not give plaintiffs “such a presumption of harm.” Assoc. Gen. Contractors, 950 F.2d at 1412 (citation
   and internal quotation marks omitted). Based on the foregoing analysis of Plaintiffs’ slim likelihood of success on
   the merits, the Court does not accord Plaintiffs the presumption of irreparable harm.

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   A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019). And in November 2019, after AB 5’s
   passage but before its effective date, Assemblymember Gonzalez issued a Tweet saying:

           [Use of arbitration] has been a huge problem. Attorneys have sued, settled,
           walked away & never demanded proper classification of the workers. It’s what
           Uber told me they’d continue to do under #AB5. That’s why we ask the 4 big city
           City Attorneys offices to file for injunctive relief on 1/1/20.

   Stoker Decl., Ex. A (Tweet by @LorenaSGonzalez, Twitter (Nov. 21, 2019, 8:05 a.m.)).
   Company Plaintiffs point to this Tweet and others to indicate Defendants’ intent to enforce AB 5
   against them. See Mot. at 27–28.

           When plaintiffs are faced with “Hobson’s choice” of “continually violat[ing]” a law and
   exposing themselves to “potentially huge liability” or “suffer[ing] the injury of obeying the law
   during the pendency of the proceedings and any further review,” the Ninth Circuit has found
   imminent harm. Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1057–58 (9th
   Cir. 2009) (quoting Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381 (1992)). If Uber
   and Postmates do not reclassify workers as employees, they could be subject to more litigation
   and the threat of criminal penalties. If the ABC test is found to require the reclassification of
   their drivers, Uber and Postmates would also suffer significant harms associated with
   restructuring their businesses. See Andres Decl. at ¶¶ 36–38; Rosenthal Decl. at ¶ 64; see also
   Cal. Trucking, 2020 WL 248993, at *11 (finding that irreparable harm exists where plaintiffs
   may violate AB 5 unless they “restructure their business model, including by obtaining
   [equipment], hiring and training employee drivers, and establishing administrative
   infrastructure”). In addition, although mere financial harms are normally not considered
   irreparable, the payroll taxes and other sums Uber and Postmates would pay to the State and
   federal government for reclassified or newly hired employees would not be recoverable due to
   sovereign immunity. See Philip Morris USA Inc. v. Scott, 561 U.S. 1301, 1304 (2010) (Scalia,
   J., in chambers) (“If expenditures cannot be recouped, the resulting loss may be irreparable.”);
   Idaho v. Coeur d’Alene Tribe, 794 F.3d 1039, 1046 (9th Cir. 2015) (finding purely economic
   harms constituted irreparable harm because plaintiff would be barred from recovering monetary
   damages from the defendant tribe due to tribal sovereign immunity).

          Because Company Plaintiffs insist that the ABC test would not affect their drivers’
   employment statuses, any irreparable injury based on a costly business restructuring process and
   unrecoverable expenditures is speculative. See In re Excel Innovations, Inc., 502 F.3d 1086,
   1098 (9th Cir. 2007) (“Speculative injury cannot be the basis for a finding of irreparable


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   harm.”).17 Moreover, even in the absence of AB 5, Company Plaintiffs remain subject to
   potential liability and enforcement of wage and hour laws pursuant to the Dynamex decision.
   But because Company Plaintiffs point to evidence of the imminent threat of enforcement by state
   actors and exposure to criminal liability, the Court finds that they have established some measure
   of irreparable harm stemming from threatened municipal enforcement actions.

           Olson and Perez do not, however, face a similar Hobson’s choice. Though they assert
   that they would suffer unrecoverable financial losses and lose customer goodwill, freedom,
   financial stability, and work satisfaction if Uber and Postmates reclassify them as employees,
   those harms are speculative so long as the Company Plaintiffs maintain that AB 5 does not apply
   to them. See Olson Decl. at ¶¶ 10, 12; Perez Decl. at ¶¶ 19–20; Rosenthal Decl. at ¶ 56. AB 5
   does not subject individual workers to any threat of enforcement or litigation. And, as
   Defendants note, “AB 5 does not compel a ‘forced reclassification,’ but instead provides the
   applicable standard to ascertain whether an individual is an employee or an independent
   contractor.” Opp. at 26. The declarations by Uber and Postmates directors indicate that
   Company Plaintiffs may not enact drastic “forced reclassification” measures that irreparably
   harm Olson and Perez. For instance, Postmates’ Director of Trust and Safety and Insurance
   Operations states that “[i]f AB 5 were enforced against Postmates in a manner consistent with
   the sponsors’ stated intent to require reclassification of workers in the on-demand economy as
   employees, Postmates could be required to significantly alter its current business model.”
   Andres Decl. at ¶ 38 (emphasis added). Displaying only slightly more urgency, Uber’s Director
   of Strategic Operational Initiatives attests that though AB 5 does not change Uber’s independent
   contractors’ classification, “if AB 5 were enforced against Plaintiffs in a manner consistent with
   the sponsors’ stated intent . . . , [Uber] would have to make radical changes to its business
   model.” Rosenthal Decl. at ¶¶ 56–57 (emphasis added). The alleged harm to Olson and Perez—
   as well as to the individual amici Uber and Postmates drivers—would therefore stem from
   Company Plaintiffs’ response to AB 5 only if the statute is interpreted and enforced in a specific
   manner, not from automatic application of AB 5 to their employment statuses or threatened or



            17
               Defendants argue that Plaintiffs’ delay in seeking a preliminary injunction against AB 5’s enforcement,
   when AB 5 was enacted in September 2019 and Dynamex has governed worker classification in all wage order-
   covered industries since April 2018, “indicate[s] an absence of the kind of irreparable harm required to support a
   preliminary injunction.” Kiva Health Brands LLC v. Kiva Brands Inc., 402 F. Supp. 3d 877, 897 (N.D. Cal. 2019)
   (citation omitted). But in the Ninth Circuit, “delay is but a single factor to consider in evaluating irreparable injury,”
   and “courts are ‘loath to withhold relief solely on that ground.’” Id. (quoting Arc of Cal., 757 F.3d at 990).
   Accordingly, Plaintiffs’ four-month delay in seeking an injunction against AB 5’s enforcement does not undermine
   the irreparable harm analysis described above.


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   actual enforcement actions.18 And, in fact, Dynamex contemplates that “if a business concludes
   that it improves the morale and/or productivity of a category of workers to afford them the
   freedom to set their own hours or to accept or decline a particular assignment, the business may
   do so while still treating the workers as employees.” 4 Cal. 5th at 961. Thus, even if AB 5
   enforcement actions require reclassification of gig economy drivers, Company Plaintiffs could
   still offer Olson and Perez flexibility and freedom while treating them as employees. The harm
   that Olson, Perez, and individual amici assert therefore seems merely possible, not probable. See
   Arc of Cal. v. Douglas, 757 F.3d at 990.19

           Arguing that an injunction would irreparably harm the State, Defendants assert that
   “[a]ny time a State is enjoined by a court from effectuating statutes enacted by representatives of
   its people, it suffers a form of irreparable injury.” Opp. at 27–28 (quoting Maryland v. King, 567
   U.S. 1301 (2012) (Roberts, C.J., in chambers) (citation omitted); Coal. for Econ. Equity v.
   Wilson, 122 F.3d 718, 719 (9th Cir. 1997) (order) (“[I]t is clear that a state suffers irreparable
   injury whenever an enactment of its people or their representatives is enjoined.”). But the Ninth
   Circuit has distanced itself from this understanding of a state’s irreparable injury. See Latta v.
   Otter, 771 F.3d 496, 500 n.1 (9th Cir. 2014) (“Individual justices, in orders issued from
   chambers, have expressed the view that a state suffers irreparable injury when one of its laws is
   enjoined. No opinion for the Court adopts this view.” (internal citations omitted)). In light of
   this ambiguous direction, the Court notes that any irreparable injury to Defendants would be
   mitigated by the fact that even if a preliminary injunction were granted, Dynamex still applies the

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              At the hearing, Plaintiffs’ counsel cited to Yue v. Conseco Life Ins. Co., 282 F.R.D. 469 (C.D. Cal. 2012),
   and Nelson v. National Aeronautics & Space Admin., 530 F.3d 865 (9th Cir. 2008), rev’d and remanded, 562 U.S.
   134 (2011), to support a finding of irreparable harm to Individual Plaintiffs based on stress and uncertainty. Yue
   appears highly fact-bound to insurance benefits, whose very purchase is intended to engender peace of mind.
   Nelson notes that “the loss of one’s job does not carry merely monetary consequences; it carries emotional damages
   and stress”—as described above, however, the loss of Individual Plaintiffs’ jobs is speculative at this point. 530
   F.3d at 882. Regardless, a finding of Individual Plaintiffs’ irreparable harm based on current or prospective
   emotional distress and instability would not alter the outcome of this Order, given the unlikelihood of success on the
   merits.
            19
               In their declarations, amici curiae Keisha Broussard, Raymond Frazier, Daniel Rutka, and LaMar Wilder
   assert that they will be harmed only if Uber or Postmates classifies them as employees under AB 5. See, e.g.,
   Broussard Decl. at ¶ 7 (“If I am forced to work as a regular employee, I might have to choose between my acting
   career and spending time with my daughter on one hand, and holding a regular job on the other.”); Frazier Decl. at
   ¶ 5 (“Being involuntarily converted to an employee would likely cost me thousands of dollars in lost Social Security
   benefits and force me to come back out of retirement.”); Rutka Decl. at ¶ 6 (“If I can no longer work as an
   independent contractor, I may have to choose between taking a regular job or taking care of my sick family
   member.”); Wilder Decl. at ¶ 5 (“If I am required to become an employee, I will lose the freedom to decide when
   and where I can drive.”).

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   ABC test to all workers covered by IWC wage orders. And, given that the State’s interests are
   collapsed with those of the public when balancing the equities, see infra Part IV.C, the Court will
   examine the harms to Defendants when analyzing the third and fourth Winter factors.

           The irreparable harm factor must weigh sharply in Plaintiffs’ favor to prevail, since “‘the
   required degree of irreparable harm increases as the probability of success decreases.’” Golden
   Gate Rest. Ass’n v. City & Cty. of San Francisco, 512 F.3d 1112, 1116 (9th Cir. 2008) (quoting
   Nat. Res. Def. Council, Inc. v. Winter, 502 F.3d 859, 862 (9th Cir. 2007)). Here, Uber and
   Postmates have demonstrated a likelihood of irreparable harm based on the threats of
   enforcement against them by city attorneys and the availability of criminal penalties. But this
   showing is offset somewhat by the fact that the Company Plaintiffs may still face private
   enforcement actions under Dynamex, even in the absence of AB 5. As no enforcement or non-
   speculative reclassification measures apply to individual drivers, Olson and Perez have not
   demonstrated the likelihood, rather than the mere possibility, of irreparable harm. Accordingly,
   this factor weighs slightly in Plaintiffs’ favor.

   C.      Balance of Equities and Public Interest

           When the government is a party, the final two preliminary injunction factors merge.
   Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014). Plaintiffs must still
   “establish that ‘the balance of equities tips in [their] favor.’” Stormans, Inc. v. Selecky, 586 F.3d
   1109, 1138 (9th Cir. 2009) (quoting Winter, 555 U.S. at 20). But “[i]n exercising their sound
   discretion, courts of equity should pay particular regard [to] the public consequences in
   employing the extraordinary remedy of injunction.” Weinberger v. Romero-Barcelo, 456 U.S.
   305, 312 (1982).

           California enacted AB 5 to address misclassification and its public consequences through
   the ABC test. See A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019); Opp. at 29. Dynamex
   noted the following public benefits to applying the ABC test: “ensuring low income workers’
   wages and conditions despite their weak bargaining power”; “ensuring that . . . responsible
   companies are not hurt by unfair competition from competitor businesses that utilize substandard
   employment practices”; and ensuring that the public is not “left to assume responsibility for the
   ill effects to workers and their families resulting from substandard wages or unhealthy and
   unsafe working conditions.” 4 Cal. 5th at 952–53. Because “AB 5 was enacted after a full
   legislative process, including discussion about its impact and the necessity for it, and negotiation
   with various stakeholders including industry, labor, and others,” showing the public’s favor for
   the legislation,” Defendants argue that the public’s interest in enforcing the legislation outweighs
   private parties’ interests in enjoining it. Opp. at 29–30. The Court agrees that “[t]he public

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   interest may be declared in the form of a statute” and is not served by the preliminary injunction
   Plaintiffs seek. Golden Gate Rest. Ass’n, 512 F.3d at 1127 (quoting 11A Charles Alan Wright,
   Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2948.4, at 207 (2d ed.
   1995)); see also id. (“[I]t is in the public interest that federal courts of equity should exercise
   their discretionary power with proper regard for the rightful independence of state governments
   in carrying out their domestic policy.” (quoting Burford v. Sun Oil Co., 319 U.S. 315, 318 (1943)
   (internal quotation marks omitted))).

           Plaintiffs assert public benefits to enjoining enforcement that weigh slightly in their
   favor. In one concrete example, a 2019 study found that Uber’s rideshare service decreased the
   use of per capita ambulance services by at least 6.7 percent, likely reducing public spending on
   medical transportation costs. McCrary Decl. at ¶ 34. In another example, a 2015 study found
   that Uber’s entry into California reduced alcohol-related motor vehicle homicides. See Br. of
   Amici Curiae U.S. Chamber of Commerce, Engine Advocacy, and TechNet at 15 (citing Brad
   Greenwood & Sunil Wattal, Show Me the Way to Go Home: An Empirical Investigation of Ride
   Sharing and Alcohol Related Motor Vehicle Homicide, Temple University Fox School of
   Business         Research        Paper       No.       15-054         (Jan.      29,      2015),
   http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2557612) [Doc. # 44].           According to
   Plaintiffs, AB 5’s enforcement will decrease the number and availability of drivers, which
   presumably could reduce Uber’s impact on medical transportation costs and drunk driving.
   McCrary Decl. at ¶ 42. Plaintiffs also argue that prices for gig economy services will increase,
   harming consumers as well as gig economy workers. Id. at ¶¶ 42–47. More generally, Plaintiffs
   argue that the equities balance in their favor, since AB 5 attempts to roll back technology,
   “[f]orcing companies to make major changes to their operations—leaving California an
   aberration in their global businesses—only to see them potentially reversed once the Court
   adjudicates the merits of Plaintiffs’ challenges would greatly disserve all Californians who use
   their apps.” Reply at 30 (citing Andres Decl. at ¶¶ 41–47; Rosenthal Decl. at ¶¶ 57–66). But
   because this argument is premised on their claims’ success on the merits—an outcome that the
   Court has already determined to be unlikely—it does not militate in favor of Plaintiffs on the
   final two preliminary injunction factors.

           Furthermore, evidence submitted by Plaintiffs indicates that according to academic
   studies, “a majority of workers do not value scheduling flexibility” and only a “substantial
   share”—by inference, less than a majority—“are willing to give up a large share of their earnings
   to avoid employer discretion in setting hours.” McCrary Decl. at ¶ 26. This statement by
   Plaintiffs’ expert indicates that of the 395,000 or more drivers for Uber and/or Postmates, a
   majority may favor—or at least be neutral to—the application of AB 5 to their worker
   classification. To be sure, Olson, Perez, and individual amici attest that being classified as

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   employees would be financially devastating and upend their schedules and expectations. See,
   e.g., Perez Decl. ¶¶ 8, 18–20; Olson Decl. at ¶¶ 10, 12; see also Br. of Amici Curiae U.S.
   Chamber of Commerce, Engine Advocacy, and TechNet at 10 (citing U.S. Dep’t of Labor,
   Contingent and Alternative Employment Relationships, Bureau of Labor Statistics, (May 2017)
   (79 percent of independent contractors prefer their work arrangement). The Court does not
   doubt the sincerity of these individuals’ views, but it cannot second guess the Legislature’s
   choice to enact a law that seeks to uplift the conditions of the majority of non-exempt low-
   income workers rather than preserve the status quo for the smaller subset of workers who enjoy
   independent contractor status.

           When “an injunction is requested which will adversely affect a public interest . . . the
   court may in the public interest withhold relief until a final determination of the rights of the
   parties, though the postponement may be burdensome to the plaintiff.” Stormans, 586 F.3d at
   1139 (quoting Weinberger, 456 U.S. at 312–13). Considering the potential impact to the State’s
   ability to ensure proper calculation of low income workers’ wages and benefits, protect
   compliant businesses from unfair competition, and collect tax revenue from employers to
   administer public benefits programs, the State’s interest in applying AB 5 to Company Plaintiffs
   and potentially hundreds of thousands of California workers outweighs Plaintiffs’ fear of being
   made to abide by the law.

           In light of the foregoing, the Court concludes that the balance of equities and the public
   interest weigh against the issuance of injunctive relief.

                                                IV.
                                            CONCLUSION

           Plaintiffs have not shown serious questions going to the merits—the critical factor in
   determining whether to issue a preliminary injunction—and, though Company Plaintiffs have
   shown some measure of likelihood of irreparable harm, the balance of equities and the public
   interest weigh in favor of permitting the State to enforce this legislation. Accordingly, the
   Winter factors weigh against enjoining enforcement of AB 5 against Uber and Postmates, and the
   Court therefore DENIES Plaintiffs’ Motion.

   IT IS SO ORDERED.




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